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UNITED STATES DISTRICT COURT DOCU MENT
SOUTHERN DISTRICT OF NEW YORK pet ECTRONICALLY FILED
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RSL COMMUNICATIONS, PLC, SE tt

Plaintiff,

No. 04 Civ. 5217 (RJS)
“v- ORDER

NESIM BILDIRICI, ef ai.,

Defendants.

 

 

RICHARD J. SULLIVAN, District Judge:

The Court is in receipt of the parties” supplemental memoranda regarding the causation
element of Plaintiff's claims. In its submission, Plaintiff continues to argue that “the proper test
for causation for breach of fiduciary duty claims under New York law is whether the defendants’
actions or inactions were a ‘substantial factor’ in causing damages.” (P1.’s Supp. Mem. at 1.)
However, in light of the authority cited in the Court’s February 23, 2009 Order (Doc. No. 86),
the Court is not persuaded.

Where, as here, “the remedy sought is damages to compensate for a claimant’s loss, the
usual damages-causation rule for tort and contract breach cases is appropriate... .’” Am. Fed.
Group, Lid. v. Rothenberg, 136 F.3d 897, 907 n.7 (2d Cir. 1998); see also LNC Invs., Inc. y.
First Fidelity Bank, N.A. New Jersey, 173 F.3d 454, 465-66 (2d Cir, 1999). “Causation of course
has two major components: cause-in-fact, or ‘but-for’ cause, and proximate cause.” Semi-Tech
Litig., LLC v. Bankers Trust Co., 353 F, Supp. 2d 460, 482 (S.D.N.Y. 2005), aff'd, In re Bankers
Trust Co., 450 F.3d 121 (2d Cir. 2006). Therefore, the Court will apply this standard in

resolving the parties’ motions for summary judgment.

 

 
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In a footnote in its supplemental memorandum regarding causation, Plaintiff “reserve[d]
its right to file a motion to either reopen discovery or to supplement the summary judgment
record.” (Pl.’s Supp. Mem. at 10 n.8.) Therefore, if Plaintiff wishes to file such a motion, it
Shall submit a pre-motion letter pursuant to Rule 2.A of my Individual Practices by May 11,
2009. The letter shall set forth the bases for the motion, and specifically describe any additional
discovery Plaintiff wishes to conduct. Defendants shall respond to Plaintiff's pre-motion letter
within three business days after they receive it.

SO ORDERED.

Dated: May 4, 2009
New York, New York

KS (Ze,

RIGMARD J. SULLIVAN
UNITED STATES DISTRICT JUDGE
